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                   EXHIBIT 25
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                                                                      Page 1

 1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
 2                                EASTERN DIVISION
 3
            ______________________________
 4
            IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 5          OPIATE LITIGATION                               Case No. 17-md-2804
 6
            This document relates to:                       Judge Dan
 7                                                          Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17
18                  Videotaped Deposition of Joseph Rannazzisi
19                              Washington, D.C.
20                               April 26, 2019
21                                  8:37 a.m.
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3301876

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                                                  Page 18                                                   Page 20
   1   understand the scope of my question.                  1   of Diversion Control?
   2          Does that make sense?                          2          MR. BENNETT: Objection. Calls for
   3      A. Yes, sir.                                       3   speculation.
   4      Q. Now is there anything that would                4          You can answer.
   5   prevent you from testifying completely and            5          MS. SINGER: Excuse me one second.
   6   truthfully today?                                     6          Can we ask the people on the phone
   7      A. No, sir.                                        7   to mute, please.
   8          MR. EPPICH: Let me mark as Exhibit             8          MR. UTTER: Go ahead. You can
   9   1.                                                    9   answer.
  10          (Deposition Exhibit 1 was marked for          10          THE WITNESS: Yes. Yes. There was
  11   identification.)                                     11   an opioid crisis during that time period.
  12          MR. EPPICH: Exhibit 1 is the second           12          BY MR. EPPICH:
  13   amended notice of videotaped deposition of           13      Q. And was the opioid crisis getting
  14   Joseph Rannazzisi.                                   14   worse every year you were the head of the
  15          MS. SINGER: Excuse me one second,             15   Office of Diversion Control?
  16   Counsel. Do you have copies for the plaintiffs       16          MR. BENNETT: Same objection.
  17   too?                                                 17          THE WITNESS: Overdoses -- overdose
  18          BY MR. EPPICH:                                18   deaths increased, yes.
  19      Q. Sir, have you seen Exhibit No. 1               19          BY MR. EPPICH:
  20   before?                                              20      Q. As head of the Office of Diversion
  21      A. No, sir.                                       21   Control, you were responsible for oversight and
  22      Q. You haven't seen it?                           22   control of all regulatory compliance,
  23          You didn't review it in preparation           23   inspections, and civil and criminal
  24   for today's deposition?                              24   investigations of approximately 1.6 million DEA
  25      A. No.                                            25   registrants; isn't that correct?
                                                  Page 19                                                   Page 21
   1      Q. If I you could turn with me to the              1      A. Yes.
   2   letter that is Exhibit A, four or five pages          2      Q. And you provided leadership to a
   3   in. Now, this letter is prepared by the U.S.          3   team of 300 personnel?
   4   Department of Justice.                                4      A. Direct -- direct report,
   5           Have you seen this letter before?             5   approximately -- you know, in headquarters,
   6      A. Yes, I have.                                    6   approximately 300, yes.
   7      Q. And you understand Exhibit A to be              7      Q. And you controlled and operating
   8   a -- a letter from the DEA authorizing your           8   budget of approximately $350 million, correct?
   9   testimony on certain subjects today?                  9      A. Yes.
  10      A. Yes.                                           10      Q. Now, Mr. Rannazzisi, every entity
  11      Q. You were the head of DEA's Office of           11   that is involved with getting opioids to
  12   Diversion Control from 2005 to 2015; is that         12   patients has to be registered with the DEA,
  13   right?                                               13   correct?
  14      A. Approximately July of 2005 to '15,             14      A. Could you repeat that question.
  15   yes.                                                 15      Q. Every entity that is involved with
  16      Q. July of 2005 to what month in 2015?            16   getting opioids to patients has to be
  17      A. October. October 31st, 2015.                   17   registered with the DEA.
  18      Q. Halloween. One of my favorite days.            18      A. No. That's not correct.
  19      A. Uh-huh.                                        19      Q. Which entities do not have to be
  20      Q. Now, between 2005 and 2015, you were           20   registered?
  21   the senior-most law enforcement official at the      21      A. Nurses, pharmacists. They have
  22   DEA responsible for pharmaceutical diversion?        22   no -- they're not registered.
  23      A. Yes, sir.                                      23      Q. But manufacturers have to be
  24      Q. Was -- was there an opioid crisis              24   registered?
  25   the entire time you were the head of the Office      25      A. Yes.

                                                                                               6 (Pages 18 - 21)
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                                                  Page 22                                                  Page 24
   1      Q. Distributors have to be registered?             1   data.
   2      A. Yes.                                            2          BY MR. EPPICH:
   3      Q. Pharmacies have to be registered?               3      Q. And using ARCOS, DEA monitors the
   4      A. Yes.                                            4   flow of DEA-controlled substances from their
   5      Q. And doctors have to be registered?              5   point of manufacture through commercial
   6      A. Yes.                                            6   distribution channels to point of sale or
   7      Q. Now, none of those individuals or               7   distribution to the dispensing retail level?
   8   entities can lawfully handle opioids without          8          MS. SINGER: Objection. Foundation.
   9   DEA registration.                                     9          MR. BENNETT: Objection. Vague.
  10      A. Yes.                                           10          THE WITNESS: DEA can use that
  11      Q. Now, DEA can, when it determines it            11   system to monitor transactions downstream.
  12   is legally appropriate, suspend or revoke a DEA      12          BY MR. EPPICH:
  13   registration.                                        13      Q. And that's downstream from the
  14      A. Yes.                                           14   manufacturers all the way to the retail level,
  15      Q. For example, that's a way the DEA              15   correct?
  16   has to cut off a diverting registrant?               16      A. Yes. I believe so.
  17      A. Repeat that question again, please.            17          SPECIAL MASTER COHEN: Just a
  18      Q. DEA's authority to suspend or revoke           18   minute, please.
  19   a DEA registration is a way for DEA to cut off       19          We're still hearing folks on the
  20   a diverting registrant; isn't that correct?          20   phone. If you are on the phone, please mute
  21      A. That authority, we could stop a                21   yourself.
  22   registrant from conducting transactions with         22          BY MR. EPPICH:
  23   controlled substances, yes.                          23      Q. So, Mr. Rannazzisi, using ARCOS, DEA
  24      Q. Yes.                                           24   can see the number of opioids sold by
  25          You could cut them off, correct?              25   manufacturers to distributors?
                                                  Page 23                                                  Page 25
   1      A. Yeah. Stopping transactions, yes.         1            A. Yes.
   2   Cutting them off.                               2            Q. And using ARCOS, DEA can see the
   3      Q. In fact, it's -- it's DEA's               3         number of opioids distributed by distributors
   4   responsibility to do its best to ensure that    4         to pharmacies, hospitals and doctors?
   5   anyone who is registered to DEA or by DEA is 5               A. Yes.
   6   acting appropriately.                           6            Q. Registrants did not have access to
   7            MS. SINGER: Objection. Vague.          7         ARCOS data during your -- the time you led the
   8          MR. BENNETT: Join that objection.        8         Office of Diversion Control, correct?
   9          THE WITNESS: It's DEA's                  9            A. They had access to their own data
  10   responsibility to ensure that the registrant   10         that they submitted to ARCOS. But no, not
  11   population is complying with the code of       11         other.
  12   federal regulations 21 C.F.R. and also 21 USC, 12            Q. So registered --
  13   United States code.                            13            A. From the ARCOS.
  14          BY MR. EPPICH:                          14            Q. Pardon me.
  15      Q. You're familiar with the ARCOS           15                Registrants had no access to the
  16   database?                                      16         ARCOS database, correct?
  17      A. Yes, I am.                               17            A. Except for their own entries, yes.
  18      Q. Manufacturers and distributors are       18            Q. Their own entries that's they
  19   required to report data to ARCOS on every      19         submitted?
  20   single controlled substance transaction?       20            A. Yes, that they submitted.
  21      A. Yes.                                     21            Q. But they couldn't access those
  22      Q. DEA can then make use of that data, 22              entries through the ARCOS database, could they?
  23   can't it?                                      23            A. I'm not sure about that.
  24          MR. BENNETT: Objection. Vague.          24            Q. There was no portal that you were
  25          THE WITNESS: DEA does use that          25         aware of that a registrant could log into to

                                                                                              7 (Pages 22 - 25)
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                                                 Page 42                                                  Page 44
   1   testimony.                                      1           Q. During your time as the head of
   2          MR. UTTER: Same objection.               2        Office of Diversion Control, it was DEA's
   3          Go ahead.                                3        policy not to tell a registrant if they should
   4          THE WITNESS: It was years later          4        stop sales to a customer, correct?
   5   before we heard that, that they were confused. 5                MS. SINGER: Same objection.
   6   Years later.                                    6               THE WITNESS: There were due process
   7          BY MR. EPPICH:                           7        concerns. And after consultation with
   8      Q. When did DEA hear that the                8        counsel's office, we decided that that was not
   9   distributors were confused?                     9        appropriate because of the due process
  10      A. Had to be sometime around 2000 --        10        concerns.
  11   the end of 2010 or early 2011.                 11               BY MR. EPPICH:
  12      Q. And in response to that knowledge,       12           Q. So if a distributor came to you in
  13   did you provide guidance to distributors?      13        2007 or '8 or '9 or '10 and said, "We -- we
  14      A. If I remember correctly, there was       14        can't tell if this order is legitimate or
  15   meetings with individual distributors and also 15        suspicious," DEA would refuse to answer?
  16   with HDMA.                                     16               MR. BENNETT: Objection. Compound.
  17      Q. But isn't it true that you               17               MR. UTTER: Object to the incomplete
  18   affirmatively stated that it was DEA's policy 18         hypothetical.
  19   not to approve any suspicious order monitoring 19               You can go ahead and answer if you
  20   programs?                                      20        understand all the elements of the
  21      A. That was the position of the agency.     21        hypothetical.
  22   And yes, that was stated in at least two of my 22               THE WITNESS: Yeah. I'm trying to.
  23   letters to industry.                           23               Could you repeat that question,
  24      Q. And it was DEA's policy not to tell      24        please.
  25   registrants that an order is or is not         25               BY MR. EPPICH:
                                                 Page 43                                                  Page 45
   1   suspicious, correct?                                 1     Q.     Sure.
   2      A. Well, that's a business decision               2          If a distributor came to you while
   3   that only the -- the distributor could make.         3   you were the head of the Office of Diversion
   4           They're the only ones who know their         4   Control and said, "We cannot tell if this order
   5   customer. And they know what their customers         5   is legitimate or suspicious, the DEA would
   6   are doing. And they know the -- the population       6   refuse to answer the distributor's question"?
   7   around the customer's business. They know what       7          MR. UTTER: Same objection.
   8   is in the area that could warrant an increase        8          Go ahead.
   9   or not.                                              9          MS. SINGER: Objection.
  10           So DEA couldn't make that decision.         10          THE WITNESS: Yeah.
  11   It had to come as a business decision from the      11          MS. SINGER: Calls for speculation.
  12   distributor.                                        12          THE WITNESS: I mean I'd have to
  13      Q. So it was DEA's policy not to tell            13   have more information than that.
  14   registrants that an order is suspicious?            14          BY MR. EPPICH:
  15           MS. SINGER: Objection.                      15      Q. But as a general policy --
  16           MR. BENNETT: Objection. Asked and           16      A. I can't answer.
  17   answered.                                           17      Q. -- it would be DEA's -- it would be
  18           MS. SINGER: Objection. Scope.               18   DEA's response to refuse to answer?
  19   Calls for this witness's opinion on DEA policy.     19      A. It's DEA's policy that they do not
  20           MR. UTTER: Go ahead.                        20   advise when to ship or when to file a
  21           THE WITNESS: It was a business              21   suspicious orders. That's a business decision
  22   decision that would be made by the distributor      22   that, under the regulations, is maintained by
  23   whether an order is suspicious. And DEA made        23   the --
  24   that very clear to the distributors.                24      Q. This was the --
  25           BY MR. EPPICH:                              25      A. -- distributor.
                                                                                            12 (Pages 42 - 45)
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                                                                         Page 364

1                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
2                                   EASTERN DIVISION
3
            ______________________________
4
            IN RE:      NATIONAL PRESCRIPTION                MDL No. 2804
5           OPIATE LITIGATION                                Case No. 17-md-2804
6
            This document relates to:                        Judge Dan
7                                                            Aaron Polster
8           The County of Cuyahoga v. Purdue
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            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17                                    VOLUME II
18                   Videotaped Deposition of Joseph Rannazzisi
19                                Washington, D.C.
20                                 May 15, 2019
21                                    8:43 a.m.
22
23
24          Reported by:      Bonnie L. Russo
25          Job No. 3301884

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                                                                   Page 466

1           hey, don't blame us, the DEA didn't -- it's the
2           DEA responsibility to design and operate the
3           system.     Would that be true?
4                        MR. EPPICH:          Objection.
5                        MS. MAINIGI:           Form.
6                        THE WITNESS:           No, that is just
7           incorrect.      It is very specific.             The
8           regulation is specific.
9                        BY MR. LANIER:
10                Q.     Well, what if they say, oh, but the
11          DEA told us it is okay to do it this way?
12                       MR. EPPICH:          Objection.      Form.
13                       THE WITNESS:           No.     The DEA would not
14          tell them to do something outside of the
15          regulation.
16                       BY MR. LANIER:
17                Q.     And did you specifically warn them
18          of this, that the DEA does not approve or
19          otherwise endorse any specific system for
20          reporting suspicious orders?
21                       MS. MAINIGI:           Objection.
22                       THE WITNESS:           Yes.
23                       BY MR. LANIER:
24                Q.     All right.         So much of this is the
25          same as the 2006 letter.               I am just going to

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